Case No. 1:17-cr-00168-CMA       Document 96      filed 03/22/19   USDC Colorado       pg 1
                                         of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Criminal Case No. 17-cr-00168-CMA

UNITED STATES OF AMERICA,

              Plaintiff,

v.

KAREN MC CLAFLIN

           Defendant.
_____________________________________________________________________

    MOTION FOR EXTENSION TIME TO PROVIDE REPORTS AND RECORDS
     AND TO CONTINUE THE SELF-SURRENDER ORDER UNTIL MEDICAL
      RECORDS HAVE BEEN RECEIVED AND REVIEWED BY THE COURT
_____________________________________________________________________

       Karen McClaflin, through counsel, Thomas J. Hammond, moves for an extension

of time in which to file a written report from Ms. McClaflin’s orthopedic surgeon by noon

today, Friday, March 22, 2019, and for an extension of time to self-surrender to FMC

Carswell until counsel and the Court have received and reviewed the medical records.

In support of this motion, counsel states the following:

       The most recent motion to stay execution of Ms. McClaflin’s order to self-

surrender to FMC Carswell was written on March 18, 2019 and filed at approximately

3:26 p.m.

       A letter from the orthopedic surgeon’s physician assistant confirming the infection

and surgical procedure was filed on Tuesday, March 19, 2019, at approximately 6:34

a.m. Approximately one hour later, counsel drove to Arapahoe County Colorado district

court to begin the trial that was mentioned in the motion for the stay. The trial adjorned


                                             1
Case No. 1:17-cr-00168-CMA        Document 96      filed 03/22/19    USDC Colorado         pg 2
                                          of 3




for the week on Thursday, March 21, 2019, after a number of twists and turns that

required additional work. Trial will conclude Monday, March 25, 2019.

       Counsel informed the Court in the motion for the stay that given his trial

schedule, it would be very difficult to obtain medical records while he was in trial.

Counsel is attempting to obtain the medical records at this moment, but is fully aware

that obtaining medical records of surgical procedures roughly 72 hours after the

procedure is virtually impossible.

       The Court granted the stay of the self-surrender order on March 19, 2019, at 8:35

a.m. However, counsel was already in trial by that time. Counsel was unable to contact

the doctor’s office as it was closed during the time that counsel was not in trial.

       Counsel just got to his 2:15 appointment and, while waiting, tried to contact the

doctor’s office to attempt to get an electronic version of the medical records that could

be transmitted to counsel, and learned that the doctor’s office closed at 2:00 this

afternoon.

       This Court has entered a number of order granting stays of the original self-

surrender order due to Ms. McClaflin’s serious medical complications, the most

important of which is the complex infection in her hip that involves massive intravenous

injections of antibiotics after surgery during a period of observation, usually lasting

several weeks, to determine whether or not the antibiotics have successfully killed the

bacteria.

       At this time, counsel does not have sufficient information to determine if Ms.

McClaflin can safely travel to Carswell, Texas, let alone survive the initial process of

incarceration.

                                              2
Case No. 1:17-cr-00168-CMA      Document 96      filed 03/22/19    USDC Colorado      pg 3
                                        of 3




      WHEREFORE, Ms. McClaflin moves for a oneto two week extension of time in

which to file a written report from her orthopedic surgeon, and for an extension of time

to self-surrender to FMC Carswell until counsel and the Court have received and

reviewed the medical records.

                                                Respectfully submitted,

                                                s/ Thomas J. Hammond
                                                Thomas J. Hammond
                                                Thomas J. Hammond, P.C.
                                                1544 Race Street
                                                Denver, Colorado 80206
                                                303-321-7902
                                                Fax: (303)329-5871
                                                Email: hammondlaw@solucian.com

                                                Attorney for Karen McClaflin


                              CERTIFICATE OF SERVICE

       I hereby certify that on March 22, 2018, I electronically filed the foregoing
MOTION FOR EXTENSION TIME TO PROVIDE REPORTS AND RECORDS AND TO
CONTINUE THE SELF-SURRENDER ORDER UNTIL MEDICAL RECORDS HAVE
BEEN RECEIVED AND REVIEWED BY THE COURT with the Clerk of the Court using
the CM/ECF filing system which will send notification of such filing to the appropriate
parties.



s/ Thomas J. Hammond
Thomas J. Hammond




                                            3
